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                      UNITED STATES DISTRICT COURT
____________________ DISTRICT OF MINNESOTA _____________________

United States of America, et al.                   MOTION TO WITHDRAW AS COUNSEL
                                                   OF RECORD WITHOUT SUBSTITUTION

                            Plaintiff(s)           Case No:        23-cv-03009-JRT-JFD

v.

Agri Stats, Inc.

                            Defendant(s)

__________________________________________________________________________________

Pursuant to Rule 83.7(c) of the Local Rules of the United States District Court for the District of
Minnesota, the undersigned attorney hereby requests the Court and counsel that Adam Kinkley,
currently listed as counsel of record for Plaintiff United States of America wishes to withdraw as
counsel for Plaintiff United States of America in this case for the following reason(s): Internal
reassignment.



Dated: This 18th day of February, 2025                     /s/ Adam Kinkley
                                                           Adam Kinkley
                                                           Trial Attorney
                                                           Antitrust Division
                                                           United States Department of Justice
                                                           450 Fifth Street NW
                                                           Washington, DC 20530
